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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


VIDANGEL, INC.,                              Case No. 2:17cv00989 DN
               Plaintiff,                    REQUEST FOR ENTRY OF DEFAULT
                                             AGAINST DEFENDANT SULLIVAN
       vs.                                   ENTERTAINMENT GROUP, INC.

SULLIVAN ENTERTAINMENT, et al.,              The Hon. David Nuffer

Defendants.


                                             Trial Date:   None Set
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       Plaintiff VidAngel (“VidAngel”), by and through its counsel, Jaime W. Marquart of and

for the law firm of Baker Marquart LLP, hereby requests that the Clerk of the Court enter the

default of Defendant Sullivan Entertainment Group, Inc. (“Sullivan”) based upon its failure to

plead or otherwise defend in connection with this action, Sullivan having been regularly served

with process of the Summons and First Amended Complaint on September 27, 2017. This

Request is supported by the Declaration of Scott M. Malzahn filed contemporaneously herewith.

       DATED this 9th day of March, 2018.

                                                    BAKER MARQUART LLP


                                                       /s/ Jaime W. Marquart
                                                    Jaime W. Marquart
                                                    Attorneys for Plaintiff VidAngel, Inc.




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